          Case 1:19-cv-08904-PAE Document 3 Filed 11/19/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐           X
DAVID LAW,                             :
                                       :              CASE NO.: 1:19-cv-8904-PAE
               Plaintiffs,             :
                                       :
      vs.                              :
                                       :
ALDER BIOPHARMACEUTICALS INC.,         :
ROBERT AZELBY, PAUL CARTER, PAUL :
CLEVELAND, JEREMY GREEN, A. BRUCE :
MONTGOMERY, HEATHER PRESTON,           :
CLAY B. SIEGALL, and WENDY YARNO, :
                                       :
               Defendants              :
-------------------------------------- X

                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

Dated: November 19, 2019                           Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

OF COUNSEL:                                        /s/ Juan E. Monteverde____________
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